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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

In re:

STEVEN LAWRENCE BRICKNER                             CASE NO.        8:16-bk-00974-CPM

            Debtor.                                  CHAPTER         13
____________________________________/

                         OBJECTION TO CONFIRMATION OF PLAN

         Creditor, Specialized Loan Servicing LLC as servicing agent for FV-I, Inc. in trust for

Morgan Stanley Mortgage Capital Holdings LLC, objects to Debtor's Plan and states:

         1.      Creditor holds a secured claim by virtue of its note and mortgage on the property

located at 6015 Audubon Manor Blvd, Lithia, Florida 33547 (“Collateral”).

         2.      Creditor filed Proof of Claim Number 1-1 (“Claim”) reflecting a total secured claim

in the amount of $796,978.60.

         3.      The total pre-petition arrearage amount is approximately $141,206.82.

         4.      Debtor’s Plan proposes to treat Creditor’s Claim as a cure and maintain as well as

proposes to mediate with Creditor through the Loss Mitigation Mediation Program.

         5.      Creditor objects to the inconsistent Plan treatment and in the event the Debtor

intends to treat Creditor’s Claim as a cure and maintain, Debtor’s Plan should be amended to

conform to Creditor’s Claim.

         6.      In the event the Debtor intends Loss Mitigation Mediation, as of the date of this

objection a motion for Loss Mitigation Mediation has not been filed.

         7.      Creditor has the right to inquire further into the Debtor's ability to be eligible for a

loan modification either before or during the mediation process.

         8.      If a mediation is had and results in an impasse or denial of the modification,



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Creditor's claim should be paid in full or the property surrendered.

        9.       Moreover, Debtor's Plan should account for future taxes and insurance during the

pendency of the potential mediation.

        10.      Creditor reserves the right to supplement this Objection, as necessary.

        WHEREFORE, Creditor respectfully requests the Court sustain its Objection and for such

other and further relief as the Court deems appropriate.

                                  CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing was served by CM/ECF notice and

regular mail to the parties below this 16th day of March, 2016.


                                               BUCKLEY MADOLE, P.C.

                                               /s/ Austin M. Noel
                                               Austin M. Noel, Esquire
                                               Florida Bar Number 106539
                                               Buckley Madole, P.C.
                                               P.O. Box 22408
                                               Tampa, FL 33622
                                               Telephone/Fax: 813-774-6221
                                               bkfl@buckleymadole.com

VIA REGULAR MAIL
Steven Lawrence Brickner
6015 Audubon Manor Blvd
Lithia, Florida 33547

VIA CM/ECF NOTICE
Matthew B Hale
Stichter, Riedel, Blain & Postler
110 East Madison Street, Suite 200
Tampa, Florida 33602

Chapter 13 Trustee
Jon M. Waage
Post Office Box 25001
Bradenton, Florida 34206-5001




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